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                  UNITED STATES DISTRICT COURT
14       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

15                                          Case No. CV 15-4527-GW(PLAx)
     FEDERAL TRADE COMMISSION,
16                                           STIPULATED ORDER FOR
                      Plaintiff,             PERMANENT INJUNCTION
                                             AND MONETARY JUDGMENT
17                    v.                     AS TO STIPULATING
                                             DEFENDANT PAUL MEDINA
18 BUNZAI MEDIA GROUP, INC.,
   et al.
19              Defendants.

20



              STIPULATED ORDER FOR PERMANENT INJUNCTION
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1          Plaintiff, the Federal Trade Commission (Commission or FTC), filed its
2
2    Complaint for Permanent Injunction and Other Equitable Relief (Complaint)
3
3    (Dkt #3), for a permanent injunction and other equitable relief in this matter,
4
5
4    pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (FTC
6
5    Act), 15 U.S.C. §§ 53(b) and 57b, Section 5 of the Restore Online Shoppers’
7
6    Confidence Act (ROSCA), 15 U.S.C. § 8404, and Section 917(c) of the Electronic
8
9
7    Funds Transfer Act (EFTA), 15 U.S.C. § 1693o(c). The Commission and
10
8 Stipulating Defendant Paul Medina stipulate to the entry of this Stipulated Order
11
9 for Permanent Injunction and Monetary Judgment (Order) to resolve all matters in
12
13
10 dispute in this action between them.
14
11         THEREFORE, IT IS ORDERED as follows:
15
12
16                                       FINDINGS

17
13 1.        This Court has jurisdiction over this matter.
18
14 2.     The Complaint charges that Stipulating Defendant and Defendants
19
20 participated in deceptive and unfair acts or practices in violation of Section 5 of
15

21
16 the FTC Act, 15 U.S.C. § 45, Section 4 of ROSCA, 15 U.S.C. § 8403, and Section
22
17 907(a) of EFTA, 15 U.S.C. § 1693e(a), in connection with the online sale of
23
24 skincare products through a negative option continuity plan.
18
25
19 3.    Stipulating Defendant neither admits nor denies any of the allegations in
26
20 the Complaint related to Stipulating Defendant, except as specifically stated in this
27
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1    Order. Only for purposes of this action, Stipulating Defendant admits the facts
2    necessary to establish jurisdiction.
2
3
3    4.      Stipulating Defendant waives any claim that he may have under the Equal
4
5
4    Access to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action
6    through the date of this Order, and agrees to bear his own costs and attorney fees.
5
7
6    5.    Stipulating Defendant waives all rights to appeal or otherwise challenge or
8
9
7    contest the validity of this Order.
10
8                                          DEFINITIONS
11
9          For the purpose of this Order, the following definitions apply:
12
13
10 A.      “Acquirer” means a business organization, financial institution, or an agent
14
11 of a business organization or financial institution that has authority from an
15
12 organization that operates or licenses a credit card system (e.g. Visa, MasterCard,
16
17
13 American Express, and Discover) to authorize merchants to accept, transmit, or
18
14 process payment by credit card through the credit card system for money, goods or
19
20 services, or anything else of value.
15

21
16 B.    “Charge” or “Charging” means causing billing information to be
22
17 submitted for payment, including against a consumer’s credit card, debit card,
23
24 bank account, phone bill, or other account, or otherwise attempting to collect
18
25
19 money or other consideration.
26
20
27
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1    C.    “Clear and conspicuous” means that a required disclosure is difficult to
2    miss (i.e., easily noticeable) and easily understandable by ordinary consumers,
2
3
3    including in all of the following ways:
4
5
4          1.     In any communication that is solely visual or solely audible, the
6    disclosure must be made through the same means through which the
5
7
6    communication is presented. In any communication made through both visual and
8
9
7    audible means, such as a television advertisement, the disclosure must be
10
8 presented simultaneously in both the visual and audible portions of the
11
9 communication even if the representation requiring the disclosure is made in only
12
10 one means.
13
14
11       2.     A visual disclosure, by its size, contrast, location, the length of time it
15
12 appears, and other characteristics, must stand out from any accompanying text or
16
17
13 other visual elements so that it is easily noticed, read, and understood.
18
14        3.    An audible disclosure, including by telephone or streaming video,
19
15 must be delivered in a volume, speed, and cadence sufficient for ordinary
20
21
16 consumers to easily hear and understand it.
22
17        4.    In any communication using an interactive electronic medium, such
23
24 as the Internet or software, the disclosure must be unavoidable.
18
25
19       5.    On a product label, the disclosure must be presented on the principal
26
20 display panel.
27
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1          6.     The disclosure must use diction and syntax understandable to
2    ordinary consumers and must appear in each language in which the representation
2
3
3    that requires the disclosure appears.
4
5
4          7.     The disclosure must comply with these requirements in each medium
6    through which it is received, including all electronic devices and face-to-face
5
7
6    communications.
8
9
7          8.     The disclosure must not be contradicted or mitigated by, or
10
8 inconsistent with, anything else in the communication.
11
9       9.     When the representation or sales practice targets a specific audience,
12
10 such as children, the elderly, or the terminally ill, “ordinary consumers” includes
13
14
11 reasonable members of that group.
15
12 D.    “Credit Card Laundering” means:
16
17
13       1.     Presenting or depositing into, or causing or allowing another to
18
14 present or deposit into, the credit card system for payment, a Credit Card Sales
19
15 Draft generated by a transaction that is not the result of a credit card transaction
20
21
16 between the cardholder and the Stipulating Defendant;
22
17        2.   Employing, soliciting, or otherwise causing or allowing a Merchant,
23
24 or an employee, representative, or agent of a Merchant, to present to or deposit
18
25
19 into the credit card system for payment, a Credit Card Sales Draft generated by a
26
20
27
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1   transaction that is not the result of a credit card transaction between the cardholder
2   and the Merchant; or
2
3
3          3.    Obtaining access to the credit card system through the use of a
4
5
4   business relationship or an affiliation with a Merchant, when such access is not
6   authorized by the Merchant Account agreement or the applicable credit card
5
7
6   system.
8
9
7   E.     “Credit Card Sales Draft” means any record or evidence of a credit card
10
8 transaction.
11
9 F.
12
        “Continuity Plan” means any plan, arrangement, or system in

10 which a consumer is periodically charged for products or services without prior
13
14
11 notification by the seller before each charge.
15
12 G.     “Defendants” means all of the Individual Defendants and the Corporate
16
17
13 Defendants, individually, collectively, or in any combination.
18
14      1.      “Corporate Defendants” means Bunzai Media Group, Inc., d/b/a
19
15 AuraVie and Miracle Face Kit; Pinnacle Logistics, Inc.; DSA Holdings, Inc.;
20
21
16 Lifestyle Media Brands, Inc.; Agoa Holdings, Inc.; Zen Mobile Media, Inc.;
22
17 Safehaven Ventures, Inc.; Heritage Alliance Group, Inc., also doing business as
23
24 AuraVie Distribution; AMD Financial Network, Inc.; SBM Management, Inc.;
18
25
19 Media Urge, Inc.; Adageo, LLC; Calenergy, Inc.; KAI Media, Inc.; Insight Media,
26
20 Inc.; Focus Media Solutions, Inc.; Secured Commerce, LLC; Secured Merchants,
27
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1    LLC; USM Products, Inc.; Merchant Leverage Group, Inc.; DMA Media Holding,
2    Inc.; Shalita Holdings, Inc.; All Star Beauty Products, Inc. and their successors
2
3
3    and assigns
4
5
4          2.      “Individual Defendants” mean Alon Nottea, Motti Nottea, Doron
6    Nottea, Igor Latsanovski, Oz Mizrahi, Roi Reuveni, Kristopher Bond a/k/a Ray
5
7
6    Ibbot, Alan Argaman, and Paul Medina individually, collectively, or in any
8
9
7    combination.
10
8          3.      “Stipulating Defendant” means Paul Medina.
11
9 H.
12
           “Electronic Fund Transfer” means any transfer of funds, other than a

13
10 transaction originated by check, draft, or similar paper instrument, which is
14
11 initiated through an electronic terminal, telephonic instrument, or computer or
15
12 magnetic tape so as to order, instruct, or authorize a financial institution to debit or
16
17
13 credit an account. Such term includes point-of-sale transfers, automated teller
18
14 machine transactions, direct deposits or withdrawals of funds, and transfers
19
20 initiated by telephone. Such term does not include:
15

21
16         1.      Any check guarantee or authorization service that does not directly
22
17   result in a debit or credit to a consumer’s account;
23
18
24         2.      Any transfer of funds, other than those processed by automated

25
19   clearinghouse, made by a financial institution on behalf of a consumer by means
26
20   of a service that transfers funds held at either Federal Reserve banks or other
27
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1    depository institutions and that is not designed primarily to transfer funds on
2    behalf of a consumer;
2
3
3          3.    Any transaction the primary purpose of which is the purchase or sale
4
5
4    of securities or commodities through a broker-dealer registered with or regulated
6    by the Securities and Exchange Commission;
5
7
6          4.    Any automatic transfer from a savings account to a demand deposit
8
9
7    account pursuant to an agreement between a consumer and a financial institution
10
8    for the purpose of covering an overdraft or maintaining an agreed upon minimum
11
9    balance in the consumer’s demand deposit account; or
12
13
10         5.    Any transfer of funds which is initiated by a telephone conversation
14
11   between a consumer and an officer or employee of a financial institution which is
15
12   not pursuant to a prearranged plan and under which periodic or recurring
16
17
13 transfers are not contemplated.
18
14 I.    “Material” means likely to affect a person’s choice of, or conduct
19
20 regarding, goods or services.
15

21
16 J.     “Merchant” means a person who is authorized under a written contract with
22
17 an Acquirer to honor or accept credit cards, or to transmit or process for payment
23
24 credit card payments, for the purchase of goods or services.
18
25
19 K.     “Merchant Account” means an account with an Acquirer that authorizes
26
20 and allows a Merchant to honor or accept credit cards, or to transmit or process for
27
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1    payment credit card payments, for the purchase of goods or services or a
2    charitable contribution.
2
3
3    L.    “Negative Option Feature” means, in an offer or agreement to sell or
4
5
4    provide any good or service, a provision under which the consumer’s silence or
6    failure to take an affirmative action to reject a good or service or to cancel the
5
7
6    agreement is interpreted by the seller or provider as acceptance or continuing
8
9
7    acceptance of the offer or agreement.
10
8 M. “Preauthorized Electronic Fund Transfer” as defined by the Electronic
11
9 Fund Transfer Act, 15 U.S.C. § 1693a(10), means an electronic fund transfer
12
10 authorized in advance to recur at substantially regular intervals.
13
14
11 N.    “Receiver” means Charlene Koonce, the person appointed by the Court in
15
12 this matter pursuant to the Temporary Restraining Order and the Preliminary
16
17
13 Injunction.
18
14                                         ORDER
19
15
20                      I.   BAN ON NEGATIVE OPTION SALES

21
16       IT IS ORDERED that Stipulating Defendant is permanently restrained and
22
17 enjoined from advertising, marketing, promoting, or offering for sale any good or
23
18
24 service with a Negative Option Feature, whether directly or through an
25
19 intermediary, including by consulting, planning, participating, facilitating or
26
20 advising.
27
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1                       II.   PROHIBITED BUSINESS ACTIVITY
2
2            IT IS FURTHER ORDERED that Stipulating Defendant, Stipulating
3
3    Defendant’s officers, agents, employees, and attorneys, and all other persons in
4
5
4    active concert or participation with any of them, who receive actual notice of this
6
5    Order, whether acting directly or indirectly, in connection with promoting or
7
6    offering for sale any good or service, are permanently restrained and enjoined
8
9
7    from:
10
8 A.    Before a customer consents to pay for such good or service, failing to
11
9 disclose, or assisting others in failing to disclose, in a clear and conspicuous
12
13
10 manner all material terms and conditions of any offer, including:
14
11           1.    The amount, timing, and manner of all fees, charges, or other
15
12
16                 amounts that a consumer will be charged or billed, including but not

17
13                 limited to the date of the charge and whether it will be a credit card
18
14                 charge or checking account debit;
19
15
20           2.    The dates that any limited time sales offer begins and ends;

21
16           3.    The identity of the seller, including the seller’s name, physical
22
17                 address, and customer service telephone number;
23
18
24           4.    The total costs to purchase, receive, or use, and the quantity of, any

25
19                 goods or services that are the subject of the sales offer;
26
20
27
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1          5.      Any material restriction, limitation, or condition to purchase, receive,
2                  or use goods or services that are the subject of a sales offer;
2
3
3    B.    Before a customer consents to pay for such good or service, failing to
4
5
4    disclose, or assisting others in failing to disclose, in a clear and conspicuous
6    manner all material terms and conditions of any refund or cancellation policies,
5
7
6    including:
8
9
7          1.      The specific steps and means by which such requests must be
10
8                  submitted;
11
9          2.      The customer service telephone number that a customer must call to
12
13
10                 cancel or return goods or services;
14
11         3.      The email address, web address, or street address to which such
15
12                 requests must be directed;
16
17
13         4.      Any mechanism that customers must use to return any goods or
18
14                 services, including any requirement for specific tracking methods or
19
15                 delivery confirmation for a package;
20
21
16         5.      If there is any policy of not making refunds or cancellations,
22
17                 including any requirement that a product will not be accepted for
23
18
24                 return or refund unless it is unopened and in re-sellable condition, a

25
19                 statement regarding this policy;
26
20         6.      The date by which a customer is required to request a refund;
27
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1    C.    Misrepresenting, or assisting others in misrepresenting, expressly or by
2    implication, any fact material, including:
2
3
3          1.     That a good or service is free, a bonus, a gift, a trial, without cost;
4
5
4          2.     That a good or service is available for a minimal processing, service,
6                 or administrative fee or without further obligation;
5
7
6          3.     That a purchase is “risk free” or offered with a satisfaction guarantee
8
9
7                 or money-back guarantee;
10
8          4.     That the seller is accredited or rated favorably by the Better Business
11
9                 Bureau;
12
13
10         5.     A seller’s affiliation with, or endorsement or sponsorship by, any
14
11                person or entity;
15
12         6.     The amount that a consumer’s credit or debit card will be charged
16
17
13                and the timing of the charge(s);
18
14         7.     That a transaction has been authorized by a consumer;
19
15         8.     The dates that any limited time sales offer begins and ends;
20
21
16         9.     The requirements or terms of the seller’s refund or cancellation
22
17                policies;
23
18
24         10.    The identity of the seller, including the seller’s name, physical

25
19                address, and customer service telephone number;
26
20
27
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1          11.    The total costs to purchase, receive, or use, and the quantity of, any
2                 goods or services that are the subject of the sales offer;
2
3
3          12.    Any material restriction, limitation, or condition to purchase, receive,
4
5
4                 or use goods or services that are the subject of a sales offer;
6          13.    Any material aspect of the performance, efficacy, nature, or central
5
7
6                 characteristics of a good or service;
8
9
7    D.    Providing false information to any bank or other billing entity, directly or
10
8 indirectly, to contest a consumer’s request for a refund, cancellation, chargeback,
11
9 or reversal of payment;
12
10 E.
13         Failing to obtain a consumer’s express informed consent by causing billing
14
11 information to be submitted for payment, or collecting or attempting to collect
15
12 payment for goods or services without the consumer’s express verifiable
16
17
13 authorization, which shall include: (a) the customer’s signature, including an
18
14 electronic or digital form of signature that is recognized as a valid signature under
19
15 federal law; or (b) express oral authorization that is audio-recorded and made
20
21
16 available to the customer and the customer’s bank or other billing entity and that
22
17 evidences clearly both the customer’s authorization of payment and the
23
24 customer’s receipt of the following information: (i) The number of debits,
18
25
19 charges, or payments (if more than one); (ii) the date(s) the debit(s), charge(s), or
26
20 payment(s) will be submitted for payment; (iii) the amounts of the debit(s),
27
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1    charge(s), or payment(s); (iv) the customer’s name; (v) the customer’s billing
2    information identified with sufficient specificity such that the customer
2
3
3    understands what account will be used to collect payment; (vi) identification of
4
5
4    the seller’s name, physical address, and telephone number; (vii) the date of the
6    customer’s oral authorization.;
5
7
6    F.    Failing to obtaining written authorization signed or similarly authenticated
8
9
7    from consumers for Preauthorized Electronic Fund Transfers from the consumer’s
10
8 account; or
11
9 G.
12
       Failing to provide a copy of a written authorization signed or similarly

10 authenticated by a consumer for Preauthorized Electronic Fund Transfers from the
13
14
11 consumer’s account.
15
12
16     III. PROHIBITIONS RELATED TO MERCHANT ACCOUNTS

17
13        IT IS FURTHER ORDERED that Stipulating Defendant, Stipulating
18
14 Defendant’s officers, agents, employees, and attorneys, and all other persons in
19
15
20 active concert or participation with any of them, who receive actual notice of this
21
16 Order, whether acting directly or indirectly, in connection with promoting or
22
17 offering for sale any good or service, are permanently restrained and enjoined
23
18
24 from Credit Card Laundering.
25
19
26
20
27
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1          IV.    MONETARY JUDGMENT AND PARTIAL SUSPENSION
2
2          IT IS FURTHER ORDERED that:
3
3    A.    Judgment in the amount of SEVENTY THREE MILLION THREE
4
5
4    HUNDRED AND TWENTY SIX THOUSAND AND FIFTY FOUR Dollars
6
5    ($73,326,054) is entered in favor of the Commission against Stipulating
7
6
8    Defendant as equitable monetary relief.

9
7    B.    Stipulating Defendant is ordered to pay to the Commission TWENTY FIVE
10
8 THOUSAND DOLLARS ($25,000). Such payment must be made within 60 days
11
9 of entry of this Order by electronic fund transfer in accordance with instructions
12
13
10 previously provided by a representative of the Commission. Upon such payment,
14
11 the remainder of the judgment is suspended, subject to the Subsections below.
15
16 C.
12       The Commission’s agreement to the suspension of part of the judgment is

17
13 expressly premised upon the truthfulness, accuracy, and completeness of
18
14 Stipulating Defendant’s sworn financial statements and related documents
19
20 (collectively, “financial representations”) submitted to the Commission, namely:
15

21
16                1.    the Financial Statement of Individual Defendant Paul Medina
22
17                      signed on November 11, 2015, including the attachments; and
23
18
24                2.    the Financial Statement of Ad Lifestyle Network, Inc., signed
25
19                      on December 1, 2015, including the attachments.
26
20
27
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1    D.     The suspension of the judgment will be lifted as to Stipulating Defendant
2
2    if, upon motion by the Commission, the Court finds that Stipulating Defendant
3
3    failed to disclose any material asset, materially misstated the value of any asset, or
4
5
4    made any other material misstatement or omission in the financial representations
6
5    identified above.
7
6    E.    If the suspension of the judgment is lifted, the judgment becomes
8
9
7    immediately due as to Stipulating Defendant in the amount specified in
10
8 Subsection A above which the parties stipulate only for purposes of this Section
11
9 represents the consumer injury alleged in the Complaint, less any payment
12
13
10 previously made pursuant to this Section, plus interest computed from the date of
14
11 entry of this Order.
15
12
16                 V. ADDITIONAL MONETARY PROVISIONS

17
13         IT IS FURTHER ORDERED that:
18
14 A.      Stipulating Defendant relinquishes dominion and all legal and equitable
19
15
20 right, title, and interest in all assets transferred pursuant to this Order and may not
21
16 seek the return of any assets.
22
17 B.     The facts alleged in the Complaint will be taken as true, without further
23
18
24 proof, in any subsequent civil litigation by or on behalf of the Commission,
25
19 including in a proceeding to enforce its rights to any payment or monetary
26
20
27
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1   judgment pursuant to this Order, such as a nondischargeability complaint in any
2
2   bankruptcy case.
3
3   C.     The facts alleged in the Complaint establish all elements necessary to
4
5
4   sustain an action by the Commission pursuant to Section 523(a)(2)(A) of the
6
5   Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and this Order will have collateral
7
6   estoppel effect for such purposes.
8
9
7   D.     Stipulating Defendant acknowledges that his Taxpayer Identification
10
8 Number (Social Security Number or Employer Identification Number), which
11
9 Stipulating Defendant previously submitted to the Commission, may be used for
12
13
10 collecting and reporting on any delinquent amount arising out of this Order, in
14
11 accordance with 31 U.S.C. §7701.
15
12 E.    All money paid to the Commission pursuant to this Order may be deposited
16
17
13 into a fund administered by the Commission or its designee to be used for
18
14 equitable relief, including consumer redress and any attendant expenses for the
19
20 administration of any redress fund. If a representative of the Commission decides
15

21
16 that direct redress to consumers is wholly or partially impracticable or money
22
17 remains after redress is completed, the Commission may apply any remaining
23
24 money for such other equitable relief (including consumer information remedies)
18
25
19 as it determines to be reasonably related to Defendants’ practices alleged in the
26
20 Complaint. Any money not used for such equitable relief is to be deposited to the
27
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1   U.S. Treasury as disgorgement. Stipulating Defendant has no right to challenge
2   any actions the Commission or its representatives may take pursuant to this
2
3
3   Subsection.
4
5
4                         VI.   CUSTOMER INFORMATION
6
5          IT IS FURTHER ORDERED that Stipulating Defendant, his officers,
7
6
8   agents, employees, and attorneys, and all other persons in active concert or

9
7   participation with any of them, who receive actual notice of this Order, whether
10
8 acting directly or indirectly, are permanently restrained and enjoined from directly
11
9 or indirectly:
12
13
10 A.      Failing to provide sufficient customer information to enable the
14
11 Commission to efficiently administer consumer redress. Stipulating Defendant
15
12
16 represents that he has provided this redress information to the Commission. If a
17
13 representative of the Commission requests in writing any information related to
18
14 redress, Stipulating Defendant must provide it, in the form prescribed by the
19
15
20 Commission, within 14 days.
21
16 B.     Disclosing, using, or benefitting from customer information, including the
22
17 name, address, telephone number, email address, Social Security number, other
23
18
24 identifying information, or any data that enables access to a customer’s account
25
19 (including a credit card, bank account, or other financial account), that any
26
20
27
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1    Defendant obtained prior to entry of this Order in connection with the sale of any
2
2    product through a negative option continuity plan; and
3
3    C.    Failing to destroy such customer information in all forms in his possession,
4
5
4    custody, or control within 30 days after receipt of written direction to do so from a
6
5    representative of the Commission.
7
6          Provided, however, that customer information need not be disposed of, and
8
9
7    may be disclosed, to the extent requested by a government agency or required by
10
8 law, regulation, or court order.
11
9
12                             VI.       COOPERATION

13
10         IT IS FURTHER ORDERED that Stipulating Defendant must fully
14
11 cooperate with representatives of the Commission and the Receiver in this case
15
12
16 and in any investigation related to or associated with the transactions or the
17
13 occurrences that are the subject of the Complaint. Stipulating Defendant must
18
14 provide truthful and complete information, evidence, and testimony. Stipulating
19
15
20 Defendant must appear for interviews, discovery, hearings, trials, and any other
21
16 proceedings that a Commission or Receiver representative may reasonably request
22
17 upon 5 days written notice, or other reasonable notice, at such places and times as
23
18
24 a Commission or Receiver representative may designate, without the service of a
25
19 subpoena.
26
20
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1                       VII.   ORDER ACKNOWLEDGMENTS
2
2          IT IS FURTHER ORDERED that Stipulating Defendant obtain
3
3    acknowledgments of receipt of this Order:
4
5
4    A.    Stipulating Defendant, within 7 days of entry of this Order, must submit to
6
5    the Commission an acknowledgment of receipt of this Order sworn under penalty
7
6
8    of perjury.

9
7    B.    For 15 years after entry of this Order, Stipulating Defendant for any
10
8 business that he, individually or collectively with any other Defendant, is the
11
9 majority owner or controls directly or indirectly, must deliver a copy of this Order
12
13
10 to: (1) all principals, officers, directors, and LLC managers and members; (2) all
14
11 employees, agents, and representatives who participate in conduct related to the
15
16 subject matter of the Order; and (3) any business entity resulting from any change
12

17
13 in structure as set forth in the Section titled Compliance Reporting. Delivery must
18
14 occur within 7 days of entry of this Order for current personnel. For all others,
19
20 delivery must occur before they assume their responsibilities.
15

21
16 C.    From each individual or entity to which Stipulating Defendant delivered a
22
17 copy of this Order, Stipulating Defendant must obtain, within 30 days, a signed
23
24 and dated acknowledgment of receipt of this Order.
18
25
19
26
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1                         IX.    COMPLIANCE REPORTING
2
2          IT IS FURTHER ORDERED that Stipulating Defendant make timely
3
3    submissions to the Commission:
4
5
4    A.    One year after entry of this Order, Stipulating Defendant must submit a
6
5    compliance report, sworn under penalty of perjury:
7
6
8          1.    Stipulating Defendant must: (a) identify the primary physical, postal,

9
7    and email address and telephone number, as designated points of contact, which
10
8 representatives of the Commission may use to communicate with Stipulating
11
9 Defendant; (b) identify all of Stipulating Defendant’s businesses by all of their
12
13
10 names, telephone numbers, and physical, postal, email, and Internet addresses;
14
11 (c) describe the activities of each business, including the goods and services
15
16 offered, the means of advertising, marketing, and sales, and the involvement of
12

17
13 any other Defendant which Stipulating Defendant must describe if he knows or
18
14 should know due to his own involvement; (d) describe in detail whether and how
19
20 Stipulating Defendant is in compliance with each Section of this Order; and
15

21
16 (e) provide a copy of each Order Acknowledgment obtained pursuant to this
22
17 Order, unless previously submitted to the Commission.
23
18
24        2.    Additionally, Stipulating Defendant must: (a) identify all telephone

25
19 numbers and all physical, postal, email and Internet addresses, including all
26
20 residences; (b) identify all business activities, including any business for which
27
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1    Stipulating Defendant performs services whether as an employee or otherwise and
2    any entity in which Stipulating Defendant has any ownership interest; and
2
3
3    (c) describe in detail Stipulating Defendant’s involvement in each such business,
4
5
4    including title, role, responsibilities, participation, authority, control, and any
6    ownership.
5
7
6    B.    For 15 years after entry of this Order, Stipulating Defendant must submit a
8
9
7    compliance notice, sworn under penalty of perjury, within 14 days of any change
10
8 in the following:
11
9        1.    Stipulating Defendant must report any change in: (a) any designated
12
10 point of contact; or (b) the structure of any entity that Stipulating Defendant has
13
14
11 any ownership interest in or controls directly or indirectly that may affect
15
12 compliance obligations arising under this Order, including: creation, merger, sale,
16
17
13 or dissolution of the entity or any subsidiary, parent, or affiliate that engages in
18
14 any acts or practices subject to this Order.
19
15        2.    Additionally, Stipulating Defendant must report any change in:
20
21
16 (a) name, including aliases or fictitious name, or residence address; or (b) title or
22
17 role in any business activity, including any business for which Stipulating
23
24 Defendant performs services whether as an employee or otherwise and any entity
18
25
19 in which Stipulating Defendant has any ownership interest, and identify the name,
26
20 physical address, and any Internet address of the business or entity.
27
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1   C.     Stipulating Defendant must submit to the Commission notice of the filing of
2
2   any bankruptcy petition, insolvency proceeding, or similar proceeding by or
3
3   against Stipulating Defendant within 14 days of its filing.
4
5
4   D.     Any submission to the Commission required by this Order to be sworn
6
5   under penalty of perjury must be true and accurate and comply with 28 U.S.C. §
7
6   1746, such as by concluding: “I declare under penalty of perjury under the laws
8
9
7   of the United States of America that the foregoing is true and correct. Executed
10
8 on: _____” and supplying the date, signatory’s full name, title (if applicable), and
11
9 signature.
12
13
10 E.      Unless otherwise directed by a Commission representative in writing, all
14
11 submissions to the Commission pursuant to this Order must be emailed to
15
12 DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:
16
17
13 Associate Director for Enforcement, Bureau of Consumer Protection, Federal
18
14 Trade Commission, 600 Pennsylvania Avenue NW, Washington, DC 20580. The
19
20 subject line must begin: FTC v. BunZai Media Group, Inc., et al. FTC File No.
15

21
16 X150047.
22
17                      X. RECORDKEEPING
23
18
24      IT IS FURTHER ORDERED that Stipulating Defendant must create certain
25
19 records for 15 years after entry of the Order, and retain each such record for 5
26
20 years. Specifically, Stipulating Defendant for any business that Stipulating
27
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1   Defendant, individually or collectively with any other Defendants, is a majority
2   owner or controls directly or indirectly, must create and retain the following
2
3
3   records:
4
5
4   A.     Accounting records showing the revenues from all goods or services sold;
6   B.     Personnel records showing, for each person providing services, whether as
5
7
6   an employee or otherwise, that person’s: name; addresses; telephone numbers;
8
9
7   job title or position; dates of service; and (if applicable) the reason for
10
8 termination;
11
9 C.
12
        Records of all consumer complaints and refund requests, whether received

10 directly or indirectly, such as through a third party, and any response;
13
14
11 D.    All records necessary to demonstrate full compliance with each provision of
15
12 this Order, including all submissions to the Commission; and
16
17
13 E.    A copy of each unique advertisement or other marketing material, including
18
14 Internet and social media advertising or webpages.
19
15
20                      XI. COMPLIANCE MONITORING

21
16       IT IS FURTHER ORDERED that, for the purpose of monitoring
22
17 Stipulating Defendant’s compliance with this Order, including the financial
23
18
24 representations upon which part of the judgment was suspended and any failure to
25
19 transfer any assets as required by this Order:
26
20
27
               STIPULATED ORDER FOR PERMANENT INJUNCTION
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1   A.     Within 14 days of receipt of a written request from a representative of the
2
2   Commission, Stipulating Defendant must: submit additional compliance reports
3
3   or other requested information, which must be sworn under penalty of perjury;
4
5
4   appear for depositions; and produce documents for inspection and copying. The
6
5   Commission is also authorized to obtain discovery, without further leave of court,
7
6   using any of the procedures prescribed by Federal Rules of Civil Procedure 29, 30
8
9
7   (including telephonic depositions), 31, 33, 34, 36, 45, and 69.
10
8 B.  For matters concerning this Order, the Commission is authorized to
11
9 communicate directly with Stipulating Defendant. Stipulating Defendant must
12
13
10 permit representatives of the Commission to interview any employee or other
14
11 person affiliated with Stipulating Defendant who has agreed to such an interview.
15
12 The person interviewed may have counsel present.
16
17
13 C.     The Commission may use all other lawful means, including posing, through
18
14 its representatives as consumers, suppliers, or other individuals or entities, to
19
20 Stipulating Defendant or any individual or entity affiliated with Stipulating
15

21
16 Defendant, without the necessity of identification or prior notice. Nothing in this
22
17 Order limits the Commission’s lawful use of compulsory process, pursuant to
23
24 Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.
18
25
19 D.   Upon written request from a representative of the Commission, any
26
20 consumer reporting agency must furnish consumer reports concerning Stipulating
27
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1
2
2    Defendant, pursuant to Section 604(1) of the Fair Credit Reporting Act, 15 U.S.C.
3
3    §1681b(a)(1).
4
5
4                      XII.   RETENTION OF JURISDICTION
6
5          IT IS FURTHER ORDERED that this Court retains jurisdiction of this
7
6
8    matter for purposes of construction, modification, and enforcement of this Order.

9
7
                     th
10 SO ORDERED this 17 day of May, 2016.
8
11
9
12                               _______________________________
                                 GEORGE H. WU, U.S. DISTRICT JUDGE
13
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1          SO STIPULATED AND AGREED:

2          FOR PLAINTIFF
2          FEDERAL TRADE COMMISSION
3
3
4
5
4          _______________________________________
           REID A. TEPFER, Texas Bar #24079444
6          LUIS H. GALLEGOS, Oklahoma Bar #19098
5          (214) 979-9395 (Tepfer)
7          (214) 979-9383 (Gallegos)
6
8           (214) 953-3079 (facsimile)
           RTEPFER@FTC.GOV
9
7          LGALLEGOS@FTC.GOV

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1          FOR STIPULATING DEFENDANT:

2
2          ____________________________________          Date:______________
3          SAGAR PARIKH
3
4
           BEVERLY HILLS LAW CORP., PC
           433 N. CAMDEN DRIVE, 6TH FLOOR
5
4          BEVERLY HILLS, CA 90210
           (310) 887-1338
6          (310) 982-2603 FAX
5          SP@BEVERLYHILLSLAWCORP.COM
7          COUNSEL FOR PAUL MEDINA
6
8
9
7          STIPULATING DEFENDANT:

10
8
11         ____________________________________          Date:______________
9
12         PAUL MEDINA, INDIVIDUALLY AND
           AS AN OFFICER OR MANAGER OF
13
10         MEDIA URGE, INC., PINNACLE
           LOGISTICS, INC., AND FOCUS MEDIA
14         SOLUTIONS, INC.
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